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                       IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

  UNITED STATES OF AMERICA,
                                                           INDICTMENT
        Plaintiff,
                                                COUNT 1: Felon in Possession of
        vs.                                     Firearms and Ammunition, 18 U.S.C. §
                                                922(g)(l)
  JARED CHADWICK aka
  "HERCULES",

        Defendant.
                                                 Case: 1 :22-cr-00019
                                                 Assigned To : Sam, David
                                                 Assign. Date: 02/09/2022
      The Grand Jury charges:

                                          COUNT 1
                                    18 U.S.C. § 922(g)(l)
                     (Felon in Possession of Firearms and Ammunition)

      On or about January 26, 2022, in the District of Utah,

                        JARED CHADWICK aka "HERCULES",

defendant herein, knowing he had been convicted of a crime punishable by a term of

imprisonment exceeding one year, did knowingly possess firearms and ammunition, to

wit: one Glock model 48 9mm handgun, one Glock 43 9mm handgun, and associated




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ammunition, and the firearms and ammunition were in and affecting commerce; all in

violation of 18 U.S.C. § 922(g)(l).

                   NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 924(d)(l) and 28 U.S.C. § 2461(c), upon conviction of

any offense violating 18 U.S.C. § 922, the defendant shall forfeit to the United States of

America any firearm or ammunition involved in or used in the commission of the

offense, including, but not limited to:

       •   Glock model 48 9mm handgun SIN: BLGU728;
       •   Glock 43 9mm handgun SIN: AGAA197;
       •   any associated ammunition, magazines, and holsters.

                                                 A TRUE BILL:




                                                 FOREPERSON OF GRAND JURY

ANDREA T. MARTINEZ
United States Attorney




   sistant United States Attorney




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